Case 2:05-cr-20143-.]PI\/| Document 33 Filed 06/22/05 Page 1 of 2 Page|D 37

UNlTED sTArEs DisTRlCT CoURT " /"f* f
wEsTERN DIsTRICr oF TENNESSEE
Western Division

Ul\'l'l`ED STATES OF AMERICA

~vs- Case l\lo. 2:05cr2[]{]39-2-Ml

Case No. 2:05€1'20]43-l-l\/ll /
BRYANT ED\VARDS

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINCI PURSUANT TO
BAIL REFORM ACT
Upon motion ofthe Govennnent, it is ORDERED that a bond revocation hearing is set for
FRIDAY, JUNE 24, 2005 at 2:45 P.M. before United States Magistrate Judge Tu l\"I. Pham in

Courtroom No. 6, Third Floor, United States Couithouse and Federal Building, 167 North Main,

.\/leinphis, TN. Pending this hearing, the defendant shall be held in custody by the United States

l\/larshal and produced for the hearingl

M,,,Nc,…__m__(_'____ '
Date: June 21, 2005 __
\./"/\_:'¢_"( -~` ;/L!k_/__"L `

TU M. PHAM
UNlTED STATES MAGISTRATE JUDGE

 

`ll` not held immediately upon defendant's first appearance, the hearing may be continued for up to ll
motion of the goveinnient, or up to five days upon motion ofthe defendant 18 U.S.C. § 3l42(f)(2)

A hearing is required whenever the conditions set forth in 13 U.S.C. § 3142({`) are present Subsection ( l ) sets forth
the grounds that may be asserted only by the attorney for the govenirnent; subsection (2) states that a hearing is mandated
upon the motion ofthe attorney for the government or upon thejudicial officer‘s own motion, ii`there is a serious risk that the

defendant (a) will flee or (b) will obstruct or attempt to obstructjustice, or threaten, injui'e, or intimidate or attempt to threaten,
injure\ or intimidate a prospective witness orjuror.

tree days upon

AO ~:?0 (E,:BS] Order ufTernporary Detenlion
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UNITED sTATE ISTRIC COURT - WESTER D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 33 in
case 2:05-CR-20143 Was distributed by faX, mail, or direct printing on
J unc 22, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

